Criminal Notice of Appeal - Form A


                                                   NOTICE OF APPEAL

                                                  United States District Court

                                   Southern District of New York
                                   -------

Caption:
United States
_ _ _ _ _ _ _ _ _ _ v.


                                                                                   Docket No.: 21 Cr. 706 (JPO)
Brian Benjamin
                                                                                                Hon. J. Paul Oetken
                                                                                                     (District Court Judge)


Notice is hereby given that the United States of America                               appeals to the United States Court of

Appeals for the Second Circuit from the judgment ___ J, other 1✓ Order granting in part motion to dismiss (Dkt. 76)
                                                                                    (specify)
entered in this action on December 5, 2022
                                (date)




This appeal concerns: Conviction only L_ Sentence only L_J Conviction & Sentence L_ Other [                            ✓
Defendant found guilty by plea   I    I trial I     I NIA [ ✓   .
Offense occurred after November 1, 1987? Yes            I✓I     No [           N/A [

Date of sentence: _ _ _ _ _ _ _ _ _ _ _ N/A                     I✓I
Bail/Jail Disposition: Committed     L _   Not committed      I✓ I     N/A I




Appellant is represented by counsel? Yes           ✓ I No I         If yes, provide the following information:


Defendant's Counsel:       Barry H. Berke, Esq./ Dani R. James, Esq./ Darren A. Laverne, Esq.

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